               Case 1:21-bk-00002        Document No. 10        Filed 08/27/21    Page 1 of 2
                                                                                           FILED
                                                                                              Clerk
                                                                                          District Court
                                                                                        AUG 27 2021
                                                                               for the Northern Mariana Islands
                                                                               By________________________
                                                                                         (Deputy Clerk)
                                   IN THE UNITED STATES DISTRICT COURT
 1                                 FOR THE NORTHERN MARIANA ISLANDS
 2                                         BANKRUPTCY DIVISION

 3
                                                            Bankruptcy Case No. 1:21-bk-00002
 4
     IN RE:
 5                                                          CERTIFICATE OF MAILING
     JULIE ANN PALACIOS GUERRERO
 6
     SSN: xxx-xx-6222;
 7                                     Debtor,
 8

 9            I hereby certify that on the 27th day of August 2021, a true and correct copy of the “Order on
10   the Application To Have Chapter 7 Filing Fee Waived” was electronically served upon the

11   following using the Court's CM/ECF system:

12
        •     Office of the U.S. Trustee ustpregion15.hi.ecf@usdoj.gov
13
        •     Kathlyn Selleck cetguam@gmail.com, kselleck@ecf.axosfs.com
14
        •     Robert T. Torres on behalf of Attorney Robert T. Torres
15            rttlaw@pticom.com,semsimbmde@gmail.com;
16            dpascualrttlaw@gmail.com;robert.torres@rttlawgroup.com;bcamachorttlaw@gmail.com;
              a.arcegarttlaw@gmail.com;clizamarttlaw@gmail.com; lphrttlaw@gmail.com
17
              Further, I certify that on the 27th day of August 2021, that a true and correct copy was mailed
18
     via U.S. Mail, first class postage prepaid and properly addressed to the debtor at
19
              Julie Ann Palacios Guerrero
20            P.O. Box 500251
              Saipan, MP 96950
21                                                         HEATHER L. KENNEDY, Clerk of Court

22                                                                                By:
     Date of Issuance: August 27, 2021                                 __/s/________________
23
                                                                      Daniel Brown, Deputy Clerk
24
                       Case 1:21-bk-00002   Document No. 10   Filed 08/27/21    Page 2 of 2




        Office of the Clerk                                                                          pq’         ____

   United States District Court
for the Northern Mariana Islands
         P.O. Box 500687                                                                                    PITNEY BOWES
        Saipan, MP 96950                                                                      02 ~       $ 000.51°
                                                                                              0004667247 AUG 27 2021
        Official Business                                                                     MAILED FROM Z~P CODE 96950



            1:21 -bk-00002                                    Julie Ann Palacios Guerrero
                                                              Capital Hill Isa Drive
                                                              P.O. Box 500251
                                                              Saipan, MP 96950
                                                              ~
